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                                IN THE UNITED STATES DISTRICT COURT
                                 FOR THE WESTERN DISTRICT OF TEXAS
                                           AUSTIN DIVISION

         MELYNDA MICHELLE FISHER,                           §
                                                            §
                 Plaintiff,                                 §
                                                            §
         vs.                                                §              NO. 1:18-cv-1108-RP
                                                            §
         SETON FAMILY OF HOSPITALS,                         §
                                                            §
                 Defendant.
                                                            §

                          FIRST AMENDED JOINT STIPULATED EXHIBIT LIST

                Plaintiff Melynda Michelle Fisher and Defendant Seton Family of Hospitals (“Parties”),

        hereby submit the following first amended joint stipulated exhibits list to be offered at the May 10,

        2021 trial (except those to be used for impeachment only). Copies of the exhibits listed below are

        being provided to both Parties’ counsel pursuant to Local Rule 16, and pursuant to the parties'

        agreement that the documents are covered by the terms of the Agreed Confidentiality and

        Protective Order.

JTX        PX No.      DX No.             Identification                           Description of Exhibit
 No.
JTX            N/A      DX 1    SETON 00000016 - 00000018            Ascension Texas Ministry Policy Equal
No. 1                                                                Employment Opportunity
JTX            N/A      DX 2    SETON 00000001 - 00000005            Ascension Texas Ministry Policy Americans with
No. 2                                                                Disabilities (ADA)
JTX            N/A      DX 3    SETON 00000476 - 00000481            Family Medical Leave Act (FMLA) Procedure
No. 3
JTX            N/A      DX 4    SETON 00000431 - 00000436            Seton Healthcare Family Policy Associate
No. 4                                                                Conduct and Discipline
JTX            N/A      DX 5    SETON 00000026                       Seton Healthcare Family Policy Management of
No. 5                                                                Absenteeism
JTX            N/A      DX 6    SETON 00000065 - 00000068            Dell Children’s Medical Group Guidelines for
No. 6                                                                Non-Exempt Associates
JTX            N/A      DX 7    SETON 00000069 - 00000070            10/16/2017 Living the Promise Acknowledgment
No. 7
JTX            N/A      DX 8    SETON 00000373 - 407                 Weekly Absence Reports


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No. 8                       SETON 00000621 - 635
                            SETON 00000651 - 699
                            SETON 00000703 - 710
                            SETON 00000715
                            SETON 00000720 - 723
 JTX       PX 5      DX 9   FISHER 000098 - FISHER 147    Text Messages between Kendall Sharp (“Sharp”)
No. 9                                                     and Melynda Fisher (“Fisher”)
 JTX       N/A      DX 10   SETON 00000851 - 00000860     7/18/2017 Letter from Sedgwick to Fisher re
No. 10                                                    Notice of Eligibility and Rights and
                                                          Responsibilities
 JTX       N/A      DX 11   SETON 00000786 – 00000788     7/31/2017 Letter to Fisher from Sedgwick re
No. 11                                                    Approval of Intermittent Family/Medical Leave
 JTX       N/A      DX 12   SETON 00000061 - 00000062     8/23/2017 Memorandum to Fisher from Sharp re
No. 12                                                    Performance Coaching
 JTX       N/A      DX 13   SETON 00000324                9/5/2017 Email from Sharp to Fisher re Employee
No. 13                                                    Assistance
 JTX      PX 16     DX 14   SETON 00000376                9/16/2017 Email from Sharp to Fisher re Floating
No. 14                                                    Medical Assistant help
 JTX       N/A      DX 15   SETON 00000380                10/14/2017 Email from Sharp to Fisher re Kronos
No. 15                                                    time edit requests
 JTX       N/A      DX 16   SETON 00000421                10/29/2017 Ascension Health Intermittent
No. 16                                                    Absence Report
 JTX       N/A      DX 17   SETON 00000837                11/7/2017 Letter from Sedgwick to Fisher re
No. 17                                                    Denial of Leave Request under the FMLA - Late
                                                          Reported Intermittent Absence(s)
 JTX      PX 18     DX 18   SETON 00000407                11/9/2017 Email string between Sharp & Elena
No. 18                                                    Rojo (“Rojo”) re FMLA associate
 JTX       N/A      DX 19   SETON 00000567 - 00000568     11/14/2017 Email string between Sharp and Rojo
No. 19                                                    and William Cook re termination of Fisher
 JTX       N/A      DX 20   SETON 00000053 - 00000054     11/15/2017 Associates Counseling Report -
No. 20                                                    Termination of Employment
 JTX       PX 2     DX 21   SETON 00000742 - 00000875     Sedgwick Records for Fisher Family Leave
No. 21
 JTX       N/A      DX 22   SETON 00001086                11/5/2017–11/18/2017 Paystub from Final Pay
No. 22                                                    Period
 JTX       N/A      DX 23   SETON 00001090                Payroll Records
No. 23
 JTX       N/A      DX 24   Exhibit A-16 submitted with   9/7/2017 Text Message from Fisher to Sharp re
No. 24                      Defendant’s Motion for        coworker complaining about Fisher’s leave
                            Summary Judgment
 JTX       N/A      DX 25   SETON 00000876 - 00000941     Evins Personnel Consultants Records for Fisher
No. 25
 JTX       N/A      DX 26   SETON 00000942 - 00001080     Texas Orthopedics Records for Fisher
No. 26



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 JTX     N/A       DX 27   SETON 00000728 - 00000738    Comparator Disciplinary Documents
No. 27
 JTX     N/A       DX 28   SETON 00000056 – 00000060;   Records of Fisher’s Absences
No. 28                     SETON 00000071
 JTX     PX 1       N/A    SETON 00063-64               River Rock Dental Note
No. 29
 JTX     PX 3       N/A    SETON 000559-560             Fisher Termination Notice
No. 30
 JTX     PX 4       N/A    SETON 000616                 Sharp Chart of Fisher Leave
No. 31
 JTX     PX 6       N/A    SETON 000852-854             FMLA notice of eligibility
No. 32
 JTX     PX 7       N/A    SETON 000175                 FMLA approval e-mail
No. 33
 JTX     PX 8       N/A    FISHER 000011                EEOC Charge Michelle Fisher
No. 34
 JTX     PX 9       N/A    FISHER 000038-43             Seton FMLA policy
No. 35
 JTX     PX 10      N/A    FISHER 000044-48             Seton Management of Absenteeism policy
No. 36
 JTX     PX 15      N/A    FISHER 0000180-207           Michelle Fisher job application records
No. 37
 JTX     PX 16      N/A    SETON 000404                 E-mail exchange between Sharp and Daniels
No. 38
 JTX     PX 17      N/A    SETON 000404                 E-mail exchange between Sharp and Daniels
No. 39
 JTX     PX 19      N/A    SETON 000411- 412            E-mail exchange between Sharp and Rojo
No. 40
 JTX     PX 20      N/A    SETON 000504-528             E-mail from Sharp with attachments
No. 41
 JTX     PX 22      N/A    SETON 000580                 E-mail from Kendall Sharp
No. 42
 JTX     N/A        N/A    Exhibit 8 submitted during   E-Mail from Melynda Fisher
No. 43                     Plaintiff’s Deposition




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                           Respectfully submitted,



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                                 CERTIFICATE OF SERVICE

        On the 7th day of May 2021, I electronically submitted the foregoing document with the
Clerk of Court for the U.S. District Court, Western District of Texas, Austin Division, using the
Electronic Case Filing system of the Court. I hereby certify that I have served all counsel of record
via the Court’s e-filing system as follows:

       Kell A. Simon
       THE LAW OFFICE OF KELL A. SIMON
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                                                              /s/ Melissa J. Ackie
                                                                  Melissa J. Ackie




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